                      Case 23-90784 Document 1 Filed in TXSB on 09/29/23 Page 1 of 31


Fill in this information to identify the case:

United States Bankruptcy Court for the:
                           Southern District of Texas
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   06/22
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               SmileDirectClub, LLC


                                                 SmileCareClub, LLC
2. All other names debtor used
   in the last 8 years


     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          414 Union Street
                                          Number            Street                                    Number         Street

                                          8 Floor
                                           th




                                          Nashville                  Tennessee      37219
                                          City                            State      Zip Code         City                         State      Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Davidson County                                             2055 Westheimer Road, Suite 125
                                          County                                                      Number         Street




                                                                                                       Houston                   Texas     77098
                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 https://smiledirectclub.com

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:



      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
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Debtor            SmileDirectClub, LLC                                             Case number (if known)
           Name



                                            A. Check One:
7.   Describe debtor’s business
                                            ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            ☒ None of the above

                                            B. Check all that apply:
                                            ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            3391

8. Under which chapter of the               Check One:
   Bankruptcy Code is the
   debtor filing?                           ☐ Chapter 7

                                            ☐ Chapter 9

     A debtor who is a “small               ☒ Chapter 11. Check all that apply:
     business debtor” must check the
     first sub- box. A debtor as                              ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     defined in § 1182(1) who elects                            aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     to proceed under subchapter V                              affiliates) are less than $3,024,725. If this sub-box is selected, attach the most recent
     of chapter 11 (whether or not the                          balance sheet, statement of operations, cash-flow statement, and federal income tax
     debtor is a “small business                                return or if any of these documents do not exist, follow the procedure in 11 U.S.C. §
     debtor”) must check the second                             1116(1)(B).
     sub-box.
                                                              ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent
                                                                liquidated debts (excluding debts owed to insiders or affiliates) are less than
                                                                $7,500,000, and it chooses to proceed under Subchapter V of Chapter 11. If this
                                                                sub-box is selected, attach the most recent balance sheet, statement of operations,
                                                                cash-flow statement, and federal income tax return, or if any of these documents do
                                                                not exist, follow the procedure in 11 U.S.C.§ 1116(1)(B).
                                                              ☐ A plan is being filed with this petition.

                                                              ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).
                                                              ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                              ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                            ☐ Chapter 12

9. Were prior bankruptcy cases           ☒ No      District
   filed by or against the debtor        ☐ Yes.                                       When     MM/DD/YYYY        Case number
   within the last 8 years?
                                                   District                           When                       Case number
     If more than 2 cases, attach a                                                            MM/DD/YYYY
     separate list.




     Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
                    Case 23-90784 Document 1 Filed in TXSB on 09/29/23 Page 3 of 31
Debtor           SmileDirectClub, LLC                                                Case number (if known)
          Name



10. Are any bankruptcy cases            ☐ No
    pending or being filed by a         ☒ Yes.        Debtor        See Rider 1                                    Relationship      Affiliate
    business partner or an
    affiliate of the debtor?
   List all cases. If more than 1,                    District     Southern District of Texas                      When              09/29/2023
   attach a separate list.                          Case number, if known ___________                                                MM / DD / YYYY

11. Why is the case filed in this       Check all that apply:
    district?
                                        ☒   Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.
                                        ☐   A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have         ☒ No
    possession of any real              ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                          Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                  ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                        safety.
                                                        What is the hazard?

                                                  ☐     It needs to be physically secured or protected from the weather.

                                                   ☐     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                         attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                         assets or other options).
                                                  ☐     Other


                                                  Where is the property?
                                                                                       Number          Street



                                                                                       City                                  State       Zip Code



                                                  Is the property insured?
                                                  ☐ No

                                                  ☐ Yes.         Insurance agency

                                                                 Contact name
                                                                 Phone




                       Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                      ☒ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
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Debtor           SmileDirectClub, LLC                                                Case number (if known)
          Name



14. Estimated number of              ☐       1-49                       ☐     1,000-5,000                            ☐    25,001-50,000
    creditors (on a                  ☐       50-99                      ☐     5,001-10,000                           ☐    50,001-100,000
    consolidated basis)              ☐       100-199                    ☐     10,001-25,000                          ☒    More than 100,000
                                     ☐       200-999

15. Estimated assets (on a           ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☒    $500,000,001-$1 billion
    consolidated basis)              ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☐    $1,000,000,001-$10 billion
                                     ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                     ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐    More than $50 billion

16. Estimated liabilities (on        ☐       $0-$50,000                  ☐    $1,000,001-$10 million                 ☐ $500,000,001-$1 billion
    a consolidated basis)            ☐       $50,001-$100,000            ☐    $10,000,001-$50 million                ☒ $1,000,000,001-$10 billion
                                     ☐       $100,001-$500,000           ☐    $50,000,001-$100 million               ☐ $10,000,000,001-$50 billion
                                     ☐       $500,001-$1 million         ☐    $100,000,001-$500 million              ☐ More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of         petition.
    debtor
                                         I have been authorized to file this petition on behalf of the debtor.
                                         I have examined the information in this petition and have a reasonable belief that the information is true and
                                         correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on         09/29/2023
                                                              MM/ DD / YYYY


                                              /s/ Troy Crawford                                              Troy Crawford
                                              Signature of authorized representative of debtor                Printed name

                                              Title    Chief Financial Officer




18. Signature of attorney                     /s/ Rebecca Blake Chaikin                                      Date        09/29/2023
                                              Signature of attorney for debtor                                           MM/DD/YYYY



                                              Rebecca Blake Chaikin
                                              Printed name
                                              Jackson Walker LLP
                                              Firm name
                                              1401 McKinney Street, Suite 1900
                                              Number                 Street
                                              Houston                                                                Texas             77010
                                              City                                                                   State               ZIP Code

                                              (713) 752-4200                                                         rchaikin@jw.com
                                              Contact phone                                                              Email address
                                              24133055                                            Texas
                                              Bar number                                          State




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
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 Fill in this information to identify the case:
                                                                    ,
 United States Bankruptcy Court for the:
                        Southern District of Texas
                                     (State)                                              ☐ Check if this is an
 Case number (if                                                                              amended filing
 known):                                             Chapter   11



                                              Rider 1
               Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in
the United States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11
of the United States Code. The Debtors have moved for joint administration of these cases under the case
number assigned to the chapter 11 case of SmileDirectClub, Inc.

    •    SmileDirectClub, Inc.
    •    Access Dental Lab, LLC
    •    CAMF II, LLC
    •    Ortho Lab Services, LLC
    •    SDC Financial LLC
    •    SDC Holding, LLC
    •    SDC Plane, LLC
    •    SmileDirectClub, LLC
    •    SmileFarm, LLC
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                               IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE SOUTHERN DISTRICT OF TEXAS
                                           HOUSTON DIVISION

                                                       )
    In re:                                             )    Chapter 11
                                                       )
    SMILEDIRECTCLUB, LLC,                              )    Case No. 23-___________(___)
                                                       )
                               Debtor.                 )
                                                       )

                                    LIST OF EQUITY SECURITY HOLDERS1

                                                                                           Percentage of
              Equity Holders                    Address of Equity Holder
                                                                                            Equity Held
                                                414 Union Street, 8th Floor
             SDC Financial LLC                                                                 100%
                                               Nashville, Tennessee 37219




1      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
       Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
       equity as of the date of commencement of the chapter 11 case.
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 SMILEDIRECTCLUB, LLC,                                )    Case No. 23-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                   Shareholders                            Approximate Percentage of Shares Held

                 SDC Financial LLC                                            100%
                          Case 23-90784 Document 1 Filed in TXSB on 09/29/23 Page 8 of 31


     Fill in this information to identify the case:

     Debtor name         SmileDirectClub, Inc.

     United States Bankruptcy Court for the:             Southern            District of      Texas                                                   Check if this is an
     Case number (If known):                                                               (State)                                                     amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not
    Insiders                                                                                          12/15

 A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
 include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured
 claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.


Name of creditor and complete            Name, telephone number, and          Nature of the claim (for   Indicate if     Amount of unsecured claim
mailing address, including zip code      email address of creditor contact    example, trade debts,      claim is        If the claim is fully unsecured, fill in only unsecured claim
                                                                              bank loans, professional   contingent,     amount. If claim is partially secured, fill in total claim
                                                                              services, and government   unliquidated,   amount and deduction for value of collateral or setoff to
                                                                              contracts)                 or disputed     calculate unsecured claim.

                                                                                                                         Total claim, if        Deduction        Unsecured claim
                                                                                                                         partially secured      for value of
                                                                                                                                                collateral
                                                                                                                                                or setoff

1       Wilmington Trust,                Michael Wass
        National Association             PHONE: 302-636-6398; 302-                                                                                               $747,500,000.00
                                                                              Convertible
        Rodney Square North              276-3840
                                                                              Unsecured Notes
        1100 North Market Street         EMAIL:
        Wilmington, DE 19890             mwass@wilmingtontrust.com
2                                                                                                        Disputed
        Align Technology, Inc.           Jason Babb
        2820 Orchard Parkway             PHONE: 602-742-2000                  Litigation                                                                         $63,000,000.00
        San Jose, CA 95134               EMAIL: jbabb@aligntech.com

3                                        Nailah Mohammed
        2987 Horizon Media, Inc.
                                         PHONE: 212-652-0724
        75 Varick Street                                                      Trade Creditor                                                                     $5,375,955.35
                                         EMAIL:
        New York, NY 10013
                                         sdcbrand@horizonmedia.com
4
        Foley & Lardner LLP              Dawn Fueger
        321 N Clark St, Ste 2800         PHONE: 312-832-4500                  Legal Advisor                                                                      $3,908,338.00
        Chicago, IL 60654-5313           EMAIL: Fpasquesi@foley.com

5       Legility, LLC
                                         Stephanie Ellis
        216 Centerview Drive 7
                                         PHONE: 888-534-4548                  Trade Creditor                                                                     $2,596,486.40
        City Park, Suite 250
                                         EMAIL: billing@legility.com
        Brentwood, TN 37027
6                                        Mandy Williford Salesforce |
                                         Manager, Credit & Collections
        Salesforce.com                   PHONE: 317-440-9986
        PO Box 203141                    EMAIL:                               Trade Creditor                                                                     $1,872,392.86
        Dallas, TX 75320-3141            billing@salesforce.com;
                                         amanda.williford@salesforce.c
                                         om
7                                        Lian Cimet/Justin Lord
        GOOGLE Inc                       PHONE: 1-508-479-5539
        DEPT 33654                       EMAIL:
                                                                              Trade Creditor                                                                     $1,577,431.56
        PO BOX 39000                     collections@google.com;
        San Francisco, CA 94139          cimet@google.com;
                                         jlord@google.com




Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                  page 1
                          Case 23-90784 Document 1 Filed in TXSB on 09/29/23 Page 9 of 31

 Debtor           SmileDirectClub, Inc.                                         Case Number (if known)
                  Name




Name of creditor and complete             Name, telephone number, and         Nature of the claim (for   Indicate if     Amount of unsecured claim
mailing address, including zip code       email address of creditor contact   example, trade debts,      claim is        If the claim is fully unsecured, fill in only unsecured claim
                                                                              bank loans, professional   contingent,     amount. If claim is partially secured, fill in total claim
                                                                              services, and government   unliquidated,   amount and deduction for value of collateral or setoff to
                                                                              contracts)                 or disputed     calculate unsecured claim.

                                                                                                                         Total claim, if        Deduction        Unsecured claim
                                                                                                                         partially secured      for value of
                                                                                                                                                collateral
                                                                                                                                                or setoff

8                                         Rakesh Ramanathan/Puneeth
                                          R
       LTIMindtree Limited                PHONE: 908-604-8080
       25, Independence BLVD,             EMAIL:
                                                                              Trade Creditor                                                                     $1,497,255.52
       Suite 401                          Sales.Support@mindtree.com;
       Warren, NJ 07059                   Rakesh.Ramanathan@ltimindt
                                          ree.com;
                                          Puneeth.R@ltimindtree.com
9                                         David Feldman
       Sullivan & Cromwell LLP
                                          PHONE: 212-558-7195
       125 Broad Street                                                       Legal Advisor                                                                      $1,235,004.00
                                          EMAIL:
       New York, NY 10004
                                          billpayments@sullcrom.com
10                                        Tiffany Bryant
       Heraeus Kulzer, LLC
                                          PHONE: 574-855-9728
       300 Heraeus Way
                                          EMAIL:                              Trade Creditor                                                                     $1,182,127.20
       South Bend IN 46614-
                                          accountsreceivables.KNA@kul
       2517
                                          zer-dental.com
11                                        Mike Elmalem/Ezequiel
                                          Velasquez
       DASH BPO, LLC                      PHONE: 844-448-7608
       10524 Moss Park Rd                 EMAIL:
                                                                              Trade Creditor                                                                     $842,037.00
       Ste 204-349                        Accounting@dashbpo.com;
       Orlando, FL 32832                  mike.elmalem@dashbpo.com;
                                          ezequiel.velasquez@dashbpo.c
                                          om
12     Skadden Arps Slate                 Gina Bertozzi
       Meagher & Flom, LLP                PHONE: 914-750-3620
                                                                              Legal Advisor                                                                      $804,492.00
       360 Hamilton Ave                   EMAIL:
       White Plains, NY 10601             gina.bertozzi@skadden.com
13                                        Sean Robinson/Haley Mareno
       UPS Supply Chain
                                          PHONE: 1-877-869-7502
       Solutions Inc
                                          EMAIL:                              Trade Creditor                                                                     $730,680.49
       28013 Network Place
                                          paymentremit@ups.com;
       Chicago, IL 60673-1280
                                          hmareno@ups.com
14                                        US Client Portals
       Ernst & Young U.S. LLP
                                          PHONE: 91-80-662-8297
       P.O. Box 773712                                                        Professional Advisor                                                               $650,000.00
                                          EMAIL:
       Chicago, IL 60677-3712
                                          P.EY.US.Invoices@ey.com
15                                        Tilminah Archibald
       Merkle Inc.
                                          PHONE: 443-542-4368/1;
       7001 Columbia Gateway
                                          628-260-8932                        Trade Creditor                                                                     $628,825.89
       Dr.
                                          EMAIL: ar@merkleinc.com;
       Columbia, MD 21046
                                          tarchibald@merkleinc.com
16                                        Ramji Subramanian/Denise
                                          Villamil Ariza
       Globant LLC
                                          PHONE: 877-215-5230/ 1-
       875 Howard Street
                                          877-215-5230 ext. 14252             Trade Creditor                                                                     $627,417.00
       Suite 320
                                          EMAIL: billing@globant.com;
       San Francisco, CA 94103
                                          ramji.subramanian@globant.c
                                          om; d.villamil@globant.com




Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                  Page 2
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 Debtor           SmileDirectClub, Inc.                                         Case Number (if known)
                  Name




Name of creditor and complete             Name, telephone number, and         Nature of the claim (for   Indicate if     Amount of unsecured claim
mailing address, including zip code       email address of creditor contact   example, trade debts,      claim is        If the claim is fully unsecured, fill in only unsecured claim
                                                                              bank loans, professional   contingent,     amount. If claim is partially secured, fill in total claim
                                                                              services, and government   unliquidated,   amount and deduction for value of collateral or setoff to
                                                                              contracts)                 or disputed     calculate unsecured claim.

                                                                                                                         Total claim, if        Deduction        Unsecured claim
                                                                                                                         partially secured      for value of
                                                                                                                                                collateral
                                                                                                                                                or setoff

17                                        Anna Henderson
       Troutman Pepper
                                          PHONE: 404-885-3717
       Hamilton Sanders LLP
                                          EMAIL:                              Legal Advisor                                                                      $615,068.49
       PO BOX 933652
                                          Anna.henderson@troutman.co
       Atlanta, GA 31193-3652
                                          m
18                                        Matthew O'Brien
                                          PHONE: 212-364-7131
       PJT Partners LP
                                          EMAIL:
       280 Park Avenue
                                          PJTUSInvoicing@pjtpartners.c        Professional Advisor                                                               $518,070.46
       17th Floor
                                          om;
       New York, NY 10017
                                          Matthew.OBrien@pjtpartners.
                                          com
19                                        Clarissa Avendano
       Gen.G esports
                                          PHONE: 310.922-1417
       1615 16th St                                                           Trade Creditor                                                                     $443,000.00
                                          EMAIL:
       Santa Monica, CA 90404
                                          us_accounting@geng.gg
20     COMMISSION JUNCTION,
                                          Shekera John
       INC.
                                          PHONE: 770-576-8829                 Trade Creditor                                                                     $390,664.75
       P.O. Box 735538
                                          EMAIL: cjar@cj.com
       Dallas, TX 75373-5538
21     SHENZHEN RISUN
       TECHNOLOGY CO., LTD
       Building A, No.6 of Xinmu
                                          Lisa Shi
       Road
                                          PHONE: 86-13823175690               Trade Creditor                                                                     $378,738.40
       Pinghu Street, Shenzhen
                                          EMAIL: sales8@risuntech.cn
       Guangdong Province
       518111
       China
22
       Coupa Software., Inc               Rick Avalos
       1855 South Grant Street            PHONE: 650-485-8593                 Trade Creditor                                                                     $364,267.34
       San Mateo, CA 94402                EMAIL: billing@coupa.com

23                                        Tim Law
       Smile Stream                       PHONE: 801-691-9945
       2308 Turner St #4                  EMAIL:                              Trade Creditor                                                                     $359,624.50
       Springdale, AR 72764               tlaw@smilestreamsolutions.co
                                          m
24                                        Chris Bredernitz
       Corporate Eagle
                                          PHONE: 248-461-9004
       Management Services, Inc
                                          EMAIL:                              Trade Creditor                                                                     $323,519.88
       6320 Highland Road
                                          cbredernitz@corporateeagle.c
       Waterford, MI 48327
                                          om
25                                        Laura Schwindt
                                          PHONE: 901-795-5320
       Barrett Distribution
                                          EMAIL:
       Centers LLC
                                          abarriero@barrettdistribution       Trade Creditor                                                                     $313,269.30
       4836 Hickory Hill Road
                                          .com;
       Memphis, TN 38141
                                          cfranklin@barrettdistribution.
                                          com




Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                  Page 3
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 Debtor           SmileDirectClub, Inc.                                         Case Number (if known)
                  Name




Name of creditor and complete             Name, telephone number, and         Nature of the claim (for   Indicate if     Amount of unsecured claim
mailing address, including zip code       email address of creditor contact   example, trade debts,      claim is        If the claim is fully unsecured, fill in only unsecured claim
                                                                              bank loans, professional   contingent,     amount. If claim is partially secured, fill in total claim
                                                                              services, and government   unliquidated,   amount and deduction for value of collateral or setoff to
                                                                              contracts)                 or disputed     calculate unsecured claim.

                                                                                                                         Total claim, if        Deduction        Unsecured claim
                                                                                                                         partially secured      for value of
                                                                                                                                                collateral
                                                                                                                                                or setoff

26     Apical Service, LLC                Alexey Vishnevskiy
       9330 Ne Vancouver Mall             PHONE: 949-207-4050
                                                                              Trade Creditor                                                                     $277,800.00
       Dr., Ste. 203 #303                 EMAIL:
       Vancouver, WA 98662                alex@apicalservice.com
27     Qentelli LLC                       Jennifer Innes
       14241 Dallas Parkway,              PHONE: 469-646-4448
                                                                              Trade Creditor                                                                     $270,340.00
       Ste 540                            EMAIL:
       Dallas, TX 75254                   jennifer.i@qentelli.com
28     Amazon Web Services,               Gerard Denzil
       Inc.                               PHONE: 1-833-448-2289
                                                                              Trade Creditor                                                                     $270,101.59
       PO Box 84023                       EMAIL: aws-receivables-
       Seattle, WA 98124-8423             support@email.amazon.com
29     King & Spalding, LLP
                                          Suzanne Bilbo
       1180 Peachtree St NE
                                          PHONE: 1-202-626-9255               Trade Creditor                                                                     $255,183.34
       17th Floor
                                          EMAIL: sbilbo@kslaw.com
       Atlanta, GA 30309
30                                        Donna McLaughlin
       Zeta Global Corp.
                                          PHONE: 1-631-851-5209
       3 Park Avenue, 33rd Floor                                              Trade Creditor                                                                     $250,000.00
                                          EMAIL:
       New York, NY 10016
                                          dmclaughlin@zetaglobal.com




Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                  Page 4
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    Fill in this information to identify the case and this filing:

   Debtor Name          SmileDirectClub, LLC

   United States Bankruptcy Court for the:                             Southern District of Texas
                                                                                       (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders and Corporate Ownership Statement
    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                       09/29/2023                                    /s/ Troy Crawford
                                       MM/ DD/YYYY                                  Signature of individual signing on behalf of debtor
                                                                                    Troy Crawford
                                                                                    Printed name
                                                                                    Chief Financial Officer
                                                                                    Position or relationship to debtor

Official Form 202                                                    Declaration Under Penalty of Perjury for Non-Individual Debtors
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                      OMNIBUS WRITTEN CONSENT OF
            THE SPECIAL COMMITTEE, MANAGER, OR SOLE MEMBER

                                Dated as of September 29, 2023

       After due deliberation, the undersigned, being all of the members of the special committee

of the board of directors, the manager, or the sole member, as applicable (each, a “Governing

Body”), of each of the companies listed on Schedules 1 through 6 attached hereto (each, a

“Company” and collectively, the “Companies”), hereby take the following actions and adopt the

following resolutions (the “Resolutions”) by written consent as of the date first written above,

pursuant to the bylaws, the operating agreements, or the limited liability company agreements of

each Company as applicable, and the applicable laws of the jurisdiction in which such Company

is organized:


                                        RESOLUTIONS


Chapter 11 Filing

        WHEREAS, each Governing Body has considered presentations by the financial and legal
advisors of the Companies regarding the liabilities and liquidity situation of each Company, the
strategic alternatives available to it, and the effect of the foregoing on each Company’s business;
and

        WHEREAS, each Governing Body has had the opportunity to consult with the financial
and legal advisors of the Companies and fully consider each of the strategic alternatives available
to each respective Company.

       NOW, THEREFORE, BE IT,

        RESOLVED, that in the business judgment of each Governing Body, it is desirable and in
the best interests of each respective Company (including a consideration of its creditors and other
parties in interest) that each respective Company identified as a Debtor on Annex A attached hereto
(collectively, the “Debtors” and each a “Debtor”) shall be, and hereby is, authorized to file, or
cause to be filed, a voluntary petition for relief (the “Chapter 11 Case”) under the provisions of
chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United States
Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”) and any other
petition for relief or recognition or other order that may be desirable under applicable law in the
United States; and
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       RESOLVED, that the Chief Financial Officer, Chief Legal Officer, Corporate Secretary
and/or any Vice President, or any other duly appointed officer of each respective Company (each,
an “Authorized Signatory” and collectively, the “Authorized Signatories”), acting alone or with
one or more other Authorized Signatories be, and hereby are, with power of delegation, authorized,
empowered and directed to execute and file on behalf of each respective Company all petitions,
schedules, lists, and other motions, papers, or documents, and to take any and all action that they
deem necessary or proper to obtain such relief, including, without limitation, any action necessary
to maintain the ordinary course operation of each respective Company’s business.

Retention of Professionals

        WHEREAS, each Governing Body has considered presentations by the financial and legal
advisors of the Companies regarding the retention of such financial and legal advisors by each
respective Debtor.

       NOW, THEREFORE, BE IT,

         RESOLVED, that each Debtor be, and hereby is, authorized and directed to employ the
law firm of Kirkland & Ellis LLP and Kirkland & Ellis International LLP (together, “Kirkland”)
as general bankruptcy counsel to represent and assist each Debtor in carrying out its duties under
the Bankruptcy Code, and to take any and all actions to advance each Debtor’s rights and
obligations, including filing any motions, objections, replies, applications or pleadings; and in
connection therewith, each Authorized Signatory, with power of delegation, is hereby authorized
and directed to execute appropriate retention agreements, pay appropriate retainers, and to cause
to be filed an appropriate application for authority to retain the services of Kirkland.

        RESOLVED, that each Debtor be, and hereby is, authorized and directed to employ the
law firm of Jackson Walker L.L.P. (“Jackson Walker”) as local bankruptcy counsel to represent
and assist each Debtor in carrying out its duties under the Bankruptcy Code, and to take any and
all actions to advance each Debtor’s rights and obligations, including filing any motions,
objections, replies, applications or pleadings; and in connection therewith, each Authorized
Signatory, with power of delegation, is hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed an appropriate application
for authority to retain the services of Jackson Walker.

        RESOLVED, that each Debtor be, and hereby is, authorized and directed to employ the
firm Centerview Partners LLC (“Centerview”) as financial advisor and investment banker to assist
each Debtor in carrying out its duties under the Bankruptcy Code, and to take any and all actions
to advance each Debtor’s rights and obligations; and in connection therewith, each Authorized
Signatory, with power of delegation, is hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed an appropriate application
for authority to retain the services of Centerview.

       RESOLVED, that each Debtor be, and hereby is, authorized and directed to employ the
firm FTI Consulting Inc. (“FTI Consulting”), as restructuring advisor, to assist each Debtor in
carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance each
of each Debtor’s rights and obligations; and in connection therewith, each Authorized Signatory,
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with power of delegation, is hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers, and to cause to be filed an appropriate application for
authority to retain the services of FTI Consulting.

        RESOLVED, that each Debtor be, and hereby is, authorized and directed to employ the
firm of Kroll Restructuring Administration LLC (“Kroll”) as notice and claims agent to assist each
Debtor in carrying out its duties under the Bankruptcy Code, and to take any and all actions to
advance each Debtor’s rights and obligations; and in connection therewith, each Authorized
Signatory, with power of delegation, is hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed appropriate applications
for authority to retain the services of Kroll.

        RESOLVED, that each Debtor be, and hereby is, authorized and directed to employ any
other professionals to assist each respective Debtor in carrying out its duties under the Bankruptcy
Code; and in connection therewith, each Authorized Signatory, with power of delegation, is hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainers and
fees, and to cause to be filed an appropriate application for authority to retain the services of any
other professionals as necessary.

        RESOLVED, that each Authorized Signatory be, and hereby is, with power of delegation,
authorized, empowered and directed to execute and file all petitions, schedules, motions, lists,
applications, pleadings, and other papers and, in connection therewith, to employ and retain all
assistance by legal counsel, accountants, financial advisors, and other professionals and to take
and perform any and all further acts and deeds that such Authorized Signatory deems necessary,
proper, or desirable in connection with each respective Debtor’s Chapter 11 Case, with a view to
the successful prosecution of such case.

Cash Collateral, Debtor in Possession Financing, and Adequate Protection

       WHEREAS, reference is made to that certain Revolving Credit and Security Agreement
providing SmileDirectClub, LLC with a $10 million line of credit (the “Line of Credit”) from
Cluster Holdco LLC (“Cluster”).

       WHEREAS, reference is made to that certain secured promissory note issued by
SmileDirectClub, LLC to Cluster (the “Secured Promissory Note”) in the principal amount of $10
million to evidence the amounts loaned by Cluster under the Line of Credit.

       WHEREAS, reference is made to that certain Superpriority Senior Secured Debtor-In-
Possession Credit Agreement (together with all exhibits, schedules and annexes thereto, as
amended, restated, amended and restated or modified from time to time, the “DIP Credit
Agreement”), dated on or about the date hereof, by and among SDC Financial LLC, a Delaware
limited liability company and a debtor and debtor-in-possession under chapter 11 of the
Bankruptcy Code, SmileDirectClub, Inc. as Parent, Cluster and each other person from time to
time party thereto as a lender, Cluster, as administrative agent for the Lenders and as collateral
agent for the Lenders (the “DIP Agent”), and each other person from time to time party hereto as
a lender.
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       NOW, THEREFORE, BE IT,

        RESOLVED, that each Debtor attached hereto shall be party to the DIP Credit Agreement
(collectively, the “DIP Loan Parties” and each a “DIP Loan Party”) and will obtain benefits from
(a) the use of collateral, including cash collateral, as that term is defined in section 363(a) of the
Bankruptcy Code (the “Cash Collateral”), which is security for Cluster under the Secured
Promissory Note, and (b) the incurrence of debtor in possession financing obligations pursuant to
the DIP Credit Agreement (the “DIP Financing”).

         RESOLVED, that the form, terms and provisions of the DIP Credit Agreement and the
transactions contemplated by the DIP Credit Agreement (including, without limitation, the
borrowings and other extensions of credit thereunder), the issuance of any letter of credit
thereunder, and the guaranties, liabilities, obligations, security interests granted and notes issued,
if any, in connection therewith, be and hereby are authorized, adopted and approved.

        RESOLVED, that in order to use and obtain the benefits of (a) the DIP Financing and
(b) the Cash Collateral, and in accordance with section 363 of the Bankruptcy Code, each DIP
Loan Party will provide certain liens, claims, and adequate protection to the Prepetition Secured
Lenders and the lenders that are party to each of the DIP Credit Agreements (the “DIP
Obligations”) as documented in a proposed order in interim and final form (the “DIP Order”) and
submitted for approval to the Bankruptcy Court.

        RESOLVED, that each applicable DIP Loan Party’s execution and delivery of, and its
performance of its obligations in connection with the DIP Credit Agreement, are hereby, in all
respects, authorized and approved; and further resolved, that each of the Authorized Signatories is
hereby authorized by the Governing Bodies and directed to negotiate the terms of and to execute,
deliver and perform the DIP Credit Agreement and any and all other documents, certificates,
instruments or agreements required to consummate the transactions contemplated by the DIP
Credit Agreement in the name and on behalf of each applicable DIP Loan Party, in the form
approved, with such changes therein and modifications and amendments thereto as any of the
Authorized Signatories may in his or her sole discretion approve, which approval shall be
conclusively evidenced by his or her execution thereof. Such execution by any of the Authorized
Signatories is hereby authorized to be by facsimile or other means of electronic transmission,
engraved or printed as deemed necessary and preferable.

       RESOLVED, that (i) the form, terms and provisions of the Loan Documents (as defined in
the DIP Credit Agreement) to which any or all of the DIP Loan Parties are a party, including,
without limitation, those pursuant to which they are a party through a joinder agreement, (ii) the
grant of security interests in and pledges of all or substantially all of the assets now or hereafter
owned by any or all of the DIP Loan Parties as collateral (including pledges of equity and personal
property as collateral) under the Loan Documents, (iii) the incurrence and payment of fees and
expenses, and (iv) the guaranty of obligations by any or all of the DIP Loan Parties under the Loan
Documents, from which each DIP Loan Party will derive value, be and hereby are, authorized,
adopted and approved.

       RESOLVED, that each applicable DIP Loan Party’s execution and delivery of, and
performance of its obligations under, the Loan Documents to which any or all of the DIP Loan
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Parties are a party, are hereby, in all respects, authorized and approved by the Governing Bodies;
and further resolved, that each of the Authorized Signatories is hereby authorized and directed to
negotiate the terms of and to execute, deliver and perform the Loan Documents to which any or
all of the DIP Loan Parties are a party and any and all other documents, certificates, instruments
or agreements required to consummate the transactions contemplated thereby in the name and on
behalf of each applicable DIP Loan Party, in the form approved, with such changes therein and
modifications and amendments thereto as any of the Authorized Signatories may in his or her sole
discretion approve, which approval shall be conclusively evidenced by his or her execution thereof.
Such execution by any of the Authorized Signatories is hereby authorized to be by facsimile or
other means of electronic transmission, engraved or printed as deemed necessary and preferable.

        RESOLVED, that each Authorized Signatory be, and hereby is, authorized, directed, and
empowered in the name of, and on behalf of, each respective DIP Loan Party to file or to authorize
the DIP Agent or any other designee to file any Uniform Commercial Code (the “UCC”) financing
statements, any other equivalent filings, any intellectual property filings and recordation and any
necessary assignments for security or other documents in the name of each respective DIP Loan
Party that the DIP Agent deems necessary or appropriate to perfect any lien or security interest
granted under the Loan Documents, including any such UCC financing statement containing a
generic description of collateral, such as “all assets,” “all property now or hereafter acquired” and
other similar descriptions of like import, and to execute and deliver, and to record or authorize the
recording of, such mortgages and deeds of trust in respect of real property of each respective DIP
Loan Party and such other filings in respect of intellectual and other property of each respective
DIP Loan Party, in each case as the DIP Agent may reasonably request to perfect the security
interests of the DIP Agent and of the lenders and secured parties under the DIP Credit Agreement,
the DIP Order, and any related agreements entered into by the DIP Loan Parties in connection with
the DIP Credit Agreement.

Existing Financing Forbearance Agreement

        WHEREAS, reference is made to that certain Limited Forbearance Agreement (together
with all exhibits, schedules and annexes thereto, as amended, restated, amended and restated or
modified from time to time, the “Forbearance Agreement”), dated on or about the date hereof, by
SDC U.S. SMILEPAY SPV, a Delaware statutory trust (“SmilePay”), SMILEDIRECTCLUB,
LLC, a Tennessee limited liability company (“SmileDirectClub”), as the seller and initial servicer,
SDC Financial LLC, a Delaware limited liability company (the “SDC Financial”, together with
SmilePay and SmileDirectClub, the “Forbearance Credit Parties”), the financial institutions party
hereto as lenders under the Forbearance Agreement, and HPS INVESTMENT PARTNERS, LLC
(the “HPS”), in its capacity as collateral agent and as administrative agent.

       NOW, THEREFORE, BE IT,

         RESOLVED, that the form, terms and provisions of the Forbearance Agreement and the
transactions contemplated by the Forbearance Agreement (including, without limitation, the
borrowings and other extensions of credit thereunder), the issuance of any letter of credit
thereunder, and the guaranties, liabilities, obligations, security interests granted and notes issued,
if any, in connection therewith, be and hereby are authorized, adopted and approved.
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        RESOLVED, that each applicable Forbearance Credit Party’s execution and delivery of,
and its performance of its obligations in connection with the Forbearance Agreement, are hereby,
in all respects, authorized and approved; and further resolved, that each of the Authorized
Signatories is hereby authorized by the Governing Bodies and directed to negotiate the terms of
and to execute, deliver and perform the Forbearance Agreement and any and all other documents,
certificates, instruments or agreements required to consummate the transactions contemplated by
the Forbearance Agreement in the name and on behalf of each applicable Forbearance Credit Party,
in the form approved, with such changes therein and modifications and amendments thereto as any
of the Authorized Signatories may in his or her sole discretion approve, which approval shall be
conclusively evidenced by his or her execution thereof. Such execution by any of the Authorized
Signatories is hereby authorized to be by facsimile or other means of electronic transmission,
engraved or printed as deemed necessary and preferable.

        RESOLVED, that (i) the form, terms and provisions of the Forbearance Agreement and all
related documents to which any or all of the Forbearance Credit Parties are a party, including,
without limitation, those pursuant to which they are a party through a joinder agreement, (ii) the
grant of security interests in and pledges of all or substantially all of the assets now or hereafter
owned by SmilePay as collateral (including pledges of equity and personal property as collateral)
under the Forbearance Agreement, (iii) the incurrence and payment of fees and expenses, and (iv)
the guaranty of obligations by any or all of the Forbearance Credit Parties under the Forbearance
Agreement, from which each Forbearance Credit Party will derive value, be and hereby are,
authorized, adopted and approved.

        RESOLVED, that each applicable Forbearance Credit Party’s execution and delivery of,
and performance of its obligations under, the Forbearance Agreement to which any or all of the
Forbearance Credit Parties are a party, are hereby, in all respects, authorized and approved by the
Governing Bodies; and further resolved, that each of the Authorized Signatories is hereby
authorized and directed to negotiate the terms of and to execute, deliver and perform the
Forbearance Agreement and related documents to which any or all of the Forbearance Credit
Parties are a party and any and all other documents, certificates, instruments or agreements
required to consummate the transactions contemplated thereby in the name and on behalf of each
applicable Forbearance Credit Party, in the form approved, with such changes therein and
modifications and amendments thereto as any of the Authorized Signatories may in his or her sole
discretion approve, which approval shall be conclusively evidenced by his or her execution thereof.
Such execution by any of the Authorized Signatories is hereby authorized to be by facsimile or
other means of electronic transmission, engraved or printed as deemed necessary and preferable.

General

       RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Signatories, each Authorized Signatory (and such Authorized Signatory’s designees
and delegates) be, and hereby is, individually authorized and empowered, in the name of and on
behalf of each respective Company, to take or cause to be taken any and all such other and further
action, and to execute, acknowledge, deliver and file any and all such agreements, certificates,
instruments and other documents and to pay all expenses, including but not limited to filing fees,
in each case as in such officer’s judgment, shall be necessary, advisable, convenient or desirable
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in order to fully carry out the intent and accomplish the purposes of the Resolutions adopted
herein.

       RESOLVED, that each Governing Body has received sufficient notice of the actions and
transactions relating to the matters contemplated by the foregoing Resolutions, as may be required
by the organizational documents of each respective Company, or hereby waives any right to have
received such notice.

      RESOLVED, that all acts, actions, and transactions relating to the matters contemplated
by the foregoing Resolutions done in the name of and on behalf of each Company, which acts
would have been approved by the foregoing Resolutions except that such acts were taken before
the adoption of these Resolutions, are hereby in all respects approved and ratified as the true acts
and deeds of each Company with the same force and effect as if each such act, transaction,
agreement or certificate has been specifically authorized in advance by the Resolutions of each
respective Governing Body.



                                               ***
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        IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.
                                     The Special Committee of the Board of Directors of
                                     each Company listed on Schedule 1




                                          Alex Dimitrief



                                          Edward W. Ward, III



                                          Linda Williams
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        IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.
                                     The Special Committee of the Board of Directors of
                                     each Company listed on Schedule 1




                                          Alex Dimitrief



                                          Edward W. Ward, III



                                          Linda Williams
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        IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.
                                     The Special Committee of the Board of Directors of
                                     each Company listed on Schedule 1




                                          Alex Dimitrief



                                          Edward W. Ward, III



                                          Linda Williams
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        IN WITNESS WHEREOF, the undersigned has executed this consent as of the date first
written above.


                                          The Board of Trustees of each Company listed on
                                          Schedule 6




                                          Susan Greenspon Rammelt
                                          Trustee



                                          Steven Katzman
                                          Trustee
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        IN WITNESS WHEREOF, the undersigned has executed this consent as of the date first
written above.


                                          The Board of Trustees of each Company listed on
                                          Schedule 6




                                          Susan Greenspon Rammelt
                                          Trustee



                                          Steven Katzman
                                          Trustee
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        The undersigned, being the Manager and the Majority of Interest of the Members (as
defined in the Seventh Amended and Restated Limited Liability Company Agreement of SDC
Financial LLC, dated as of September 13, 2019 (the “LLC Agreement”)) of the Company listed
on Schedule 2, hereby acknowledge and consent to the foregoing Resolutions, including, without
limitation, the pledge by SmileDirectClub, Inc. of its Units (as defined in the LLC Agreement),
notwithstanding Section 10.1, Section 10.2, and Section 10.7 of the LLC Agreement and anything
else to the contrary contained in the LLC Agreement. For the avoidance of doubt, the obligation
of the transferee under Section 10.2(d) to be admitted as the Manager (as defined in the LLC
Agreement) coincident or prior to any Transfer (as defined in the LLC Agreement) of the
Manager’s Units shall occur at the time of any foreclosure on the pledge, and not in connection
with the pledge granted under the Loan Documents.

                                           MANAGER:


                                           SMILEDIRECTCLUB, INC.


                                           By:
                                           Name: Troy Crawford
                                           Title: Chief Financial Officer
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Schedule 1
The Special Committee of the Board of Directors: Alex Dimitrief, Edward W. Ward, III, and Linda Williams

                           Company                                    Jurisdiction
        SmileDirectClub, Inc.                                          Delaware


                                             Schedule 2
                                    Manager: SmileDirectClub, Inc.

                            Company                                   Jurisdiction
        SDC Financial LLC                                              Delaware


                                             Schedule 3
                                   Sole Member: SDC Financial LLC

                           Company                                    Jurisdiction
        Access Dental Lab, LLC                                         Tennessee
        SmileDirectClub, LLC                                           Tennessee
        SmileFarm, LLC                                                 Tennessee


                                             Schedule 4
                                 Sole Member: SmileDirectClub, LLC

                            Company                                   Jurisdiction
        CAMF II, LLC                                                   Delaware
        SDC Holding, LLC                                               Tennessee
        SDC Plane, LLC                                                 Delaware
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                                             Schedule 5
                                      Sole Member: CAMF II, LLC

                            Company                               Jurisdiction
        Ortho Lab Services, LLC                                    Delaware




                                             Schedule 6
Board of Trustees: Susan Greenspon Rammelt and Steven Katzman

                         Company                                  Jurisdiction
        SDC U.S. SmilePay SPV                                     Delaware
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                                   Annex A
                                    Debtors

1.   SmileDirectClub, Inc.
2.   SDC Financial LLC
3.   Access Dental Lab, LLC
4.   SmileDirectClub, LLC
5.   SmileFarm, LLC
6.   CAMF II, LLC
7.   SDC Holding, LLC
8.   SDC Plane, LLC
9.   ORTHO LAB SERVICES, LLC
